               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:12 cr 119-4


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )              ORDER
                                             )
AMANDA CECILE TONEY,                         )
                                             )
               Defendant.                    )
__________________________________           )


       THIS MATTER has come before the undersigned pursuant to Defendant’s

Motion to Continue Rule 11 Hearing (#38), filed by counsel for Defendant. The

undersigned has read the motion and considered the allegations contained therein

and does not find that good cause has been shown for the granting of the motion

and as a result, the undersigned will enter an order denying the motion to continue.

                                     ORDER

       IT IS, THEREFORE, ORDERED that the Defendant’s Motion to

Continue Rule 11 Hearing (#38) is hereby DENIED.



                                                     Signed: February 25, 2013




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